 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 MIDDLE DIST. OF PENNSYLVANIA
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     VRC, LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      3      –      2      6        8    6         3   3     4

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       6272 Route 191
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Cresco                              PA       18326
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Monroe                                                          from principal place of business
                                       County

                                                                                                       2735 Route 390
                                                                                                       Number     Street




                                                                                                       Canadensis                    PA      18325
                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify: Limited Liability Company




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1

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Debtor VRC, LLC                                                                           Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes

                                             5      3      1      3

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                            Chapter 12




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2

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Debtor VRC, LLC                                                                           Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District Middle District of PennsylvaniaWhen 04/26/2023                 Case number 5:23-bk-00926
     years?                                                                                             MM / DD / YYYY
                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.


12. Does the debtor own or                  No
    have possession of any                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                    needed.
    property that needs
                                                 Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                      related assets or other options).

                                                      Other


                                                 Where is the property?
                                                                               Number      Street




                                                                               City                                      State        ZIP Code

                                                 Is the property insured?

                                                      No
                                                      Yes. Insurance agency

                                                               Contact name

                                                               Phone




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3

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Debtor VRC, LLC                                                                          Case number (if known)


              Statistical and adminstrative information
13. Debtor's estimation of             Check one:
    available funds                        Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           creditors.

14. Estimated number of                     1-49                               1,000-5,000                          25,001-50,000
    creditors                               50-99                              5,001-10,000                         50,001-100,000
                                            100-199                            10,001-25,000                        More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 08/30/2023
                                                      MM / DD / YYYY



                                          X /s/ Svetlana Hanover
                                              Signature of authorized representative of debtor
                                              Svetlana Hanover
                                              Printed name
                                              Owner/Member
                                              Title




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4

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Debtor VRC, LLC                                                         Case number (if known)

18. Signature of attorney   X /s/ J. Zac Christman, Esquire                                 Date   08/30/2023
                               Signature of attorney for debtor                                    MM / DD / YYYY

                               J. Zac Christman, Esquire
                               Printed name
                               J. Zac Christman, Esquire
                               Firm name
                               556 Main Street, Suite 12
                               Number          Street



                               Stroudsburg                                          PA              18360
                               City                                                 State           ZIP Code


                               (570) 234-3960                                       zac@fisherchristman.com
                               Contact phone                                        Email address
                               80009                                                PA
                               Bar number                                           State




Official Form 201           Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 5

       Case 5:23-bk-01954-MJC         Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                Desc
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 Fill in this information to identify the case
 Debtor name        VRC, LLC

 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number
                                                                                                                   Check if this is an
 (if known)
                                                                                                                   amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                             12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:       Cash and cash equivalents

1.   Does the debtor have any cash or cash equivalents?
          No. Go to Part 2.
          Yes. Fill in the information below.


     All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                           debtor's interest

2.   Cash on hand

3.   Checking, savings, money market, or financial brokerage accounts (Identify all)

     Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                      account number
4.   Other cash equivalents       (Identify all)

     Name of institution (bank or brokerage firm)

5.   Total of Part 1
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                           $0.00


 Part 2: Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes. Fill in the information below.




Official Form 206A/B                               Schedule A/B: Assets -- Real and Personal Property                                          page 1
       Case 5:23-bk-01954-MJC                           Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                    Desc
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Debtor       VRC, LLC                                                                     Case number (if known)
             Name

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
                                                                                                                                                $0.00
     Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:                                  –                                        = .......................
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:                                     –                                        = .......................
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                $0.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                           Valuation method                     Current value of
                                                                                           used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
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Debtor       VRC, LLC                                                                  Case number (if known)
             Name

     General description                         Date of the       Net book value of    Valuation method          Current value of
                                                 last physical     debtor's interest    used for current value    debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                  $0.00

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method          Current value of
                                                                   debtor's interest    used for current value    debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                                  $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
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Debtor       VRC, LLC                                                                   Case number (if known)
             Name


 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                                  $0.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                  $0.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 4
         Case 5:23-bk-01954-MJC                      Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                              Desc
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Debtor       VRC, LLC                                                                    Case number (if known)
             Name


 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.   Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
      Description and location of property           Nature and extent       Net book value of     Valuation method       Current value of
      Include street address or other description    of debtor's interest    debtor's interest     used for current       debtor's interest
      such as Assessor Parcel Number (APN),          in property             (Where available)     value
      and type of property (for example,
      acreage, factory, warehouse, apartment or
      office building), if available.

55.1. 2735 Route 390, Canadensis, PA
      18325
      Parcel: 01.25.1.53
      16 Bedroom Single-family Home
      Converted to commercial use.
      Value listed is value of Debtor's
      interest at current list price.
      April 14, 2022, Appraisal indicated:
      $2.2 Million sales analysis valuation;
      $3.7 Million income capitalization
      analysis; and
      $1.9 Million EGIM analysis (effective
      gross income multiplier)                       50% Tenant in Common            Unknown Appraisal                          $1,245,000.00
55.2. 6272 Route 191, Cresco, PA 18326
      Parcel: 11.5.1.1-1
      7 Unit Commercial Property
      3.5 acres
      3 separate buildings
      1 unit is residential
      2 full bathrooms with shower
      6 half bathrooms

      Value listed is current list price.            Fee Simple                      Unknown Comparative Market Analysis
                                                                                                                      $900,000.00
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                $2,145,000.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 5
         Case 5:23-bk-01954-MJC                      Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                      Desc
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Debtor       VRC, LLC                                                                    Case number (if known)
             Name

     General description                                           Net book value of       Valuation method         Current value of
                                                                   debtor's interest       used for current value   debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
                                                                                                                                    $0.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                    Current value of
                                                                                                                    debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

     Fraudulent transfer of 296 Lower Seese Hill Road, Canadensis, PA 18325 ($678,000 property
     for $283,000 debt)                                                                                                     $395,000.00
     Nature of claim             Fraudulent Transfer
     Amount requested            $395,000.00

     Fraudulent transfer of Construction Materials, Ladders and small tools.
     (Last known location at 296 Lower Seese Hill Road, Canadensis, PA)                                                       $15,000.00
     Nature of claim             Fraudulent Transfer
     Amount requested            $15,000.00




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                      page 6
         Case 5:23-bk-01954-MJC                      Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                Desc
                                                    Main Document    Page 11 of 45
Debtor           VRC, LLC                                                                                            Case number (if known)
                 Name

      Fraudulent transfer of Appliances, furniture & used kitchen.
      (Last known location: 296 Lower Seese Hill Road, Canadensis, PA)                                                                                       $12,000.00
      Nature of claim                     Fraudulent transfer
      Amount requested                    $12,000.00

      Fraudulent transfer of 9' professional three-piece slate pool table.
      (Last known location at 296 Lower Seese Hill Road, Canadensis, PA)                                                                                       $1,000.00
      Nature of claim                     Fraudulent Transfer
      Amount requested                    $1,000.00

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
                                                                                                                                                            $423,000.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes

 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                                    $0.00
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                              $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................      $2,145,000.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +        $423,000.00

91. Total. Add lines 80 through 90 for each column.                        91a.            $423,000.00           + 91b.             $2,145,000.00


                                                                                                                                                                $2,568,000.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................


Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                        page 7
          Case 5:23-bk-01954-MJC                                   Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                                   Desc
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 Fill in this information to identify the case:
 Debtor name          VRC, LLC

 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number                                                                                                           Check if this is an
 (if known)                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                           12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                    Amount of claim        Value of collateral
                                                                                                               Do not deduct the      that supports
                                                                                                               value of collateral.   this claim

 2.1      Creditor's name                                      Describe debtor's property that is
          Kirkwood Equity Fund, LLC                            subject to a lien                                    $949,268.25              $1,245,000.00

          Creditor's mailing address                           16 Bedroom Single-family Home
          7237 Periwinkle Drive                                Describe the lien
                                                               Mortgage
                                                               Is the creditor an insider or related party?
          Macungie                   PA       18062                 No
                                                                    Yes
          Creditor's email address, if known
                                                               Is anyone else liable on this claim?
          Date debt was incurred       3/11/2022                   No
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                          2    0      2    2   As of the petition filing date, the claim is:
          Do multiple creditors have an interest in            Check all that apply.
          the same property?                                       Contingent
              No                                                   Unliquidated
              Yes. Specify each creditor, including this           Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                  $1,163,351.15


Official Form 206D                            Schedule D: Creditors Who Have Claims Secured by Property                                             page 1

         Case 5:23-bk-01954-MJC                            Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                          Desc
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Debtor       VRC, LLC                                                                         Case number (if known)

 Part 1:       Additional Page                                                                                Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.2     Creditor's name                                      Describe debtor's property that is
         Monroe County Tax Claim Bureau                       subject to a lien                                     $22,000.00             $900,000.00

         Creditor's mailing address                           7 Unit Commercial Property
         One Quaker Plaza, Room 104                           Describe the lien
                                                              Taxes / Statutory Lien
                                                              Is the creditor an insider or related party?
         Stroudsburg                PA       18360                 No
                                                                   Yes
         Creditor's email address, if known
         mknitter@monroecountypa.gov                          Is anyone else liable on this claim?
         Date debt was incurred       1/1/2023                    No
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          5    1      1    1   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
             Yes. Have you already specified the                  Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
1) The Dime Bank; 2) Monroe County Tax Claim Bureau.
                Yes. The relative priority of creditors is
                specified on lines

 2.3     Creditor's name                                      Describe debtor's property that is
         The Dime Bank                                        subject to a lien                                    $192,082.90             $900,000.00

         Creditor's mailing address                           7 Unit Commercial Property
         820 Church Street                                    Describe the lien
                                                              Agreement
                                                              Is the creditor an insider or related party?
         Honesdale                  PA       18431                 No
                                                                   Yes
         Creditor's email address, if known
                                                              Is anyone else liable on this claim?
         Date debt was incurred       11/10/2020                  No
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          1    1      5    5   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
             Yes. Have you already specified the                  Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.2




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2

         Case 5:23-bk-01954-MJC                           Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                        Desc
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Debtor       VRC, LLC                                                                  Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.

         Name and address                                                             On which line in Part 1        Last 4 digits of
                                                                                      did you enter the              account number
                                                                                      related creditor?              for this entity

         Obermayer Rebman Maxell & Hippel, LLP                                         Line    2.1                     2    0    2      2
         Nicholas Poduslenko, Esquire
         Centre Square West
         1500 Market Street, Suite 3400
         Philadelphia                                 PA       19102




Official Form 206D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3

         Case 5:23-bk-01954-MJC                    Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                           Desc
                                                  Main Document    Page 15 of 45
 Fill in this information to identify the case:
 Debtor               VRC, LLC

 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
            No. Go to Part 2.
            Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1    Priority creditor's name and mailing address        As of the petition filing date, the               Unknown            Unknown
                                                                claim is: Check all that apply.
Internal Revenue Service
                                                                    Contingent
Centralized Insolvency Operation                                    Unliquidated
PO Box 7346                                                         Disputed

                                                                Basis for the claim:
Philadelphia                          PA      19101-7346        1040 Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
12/31/2022
                                                                     No
Last 4 digits of account                                             Yes
number       6 3 3           4
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



     2.2    Priority creditor's name and mailing address        As of the petition filing date, the               Unknown            Unknown
                                                                claim is: Check all that apply.
Pennsylvania Dep't of Revenue
                                                                    Contingent
PO Box 280946                                                       Unliquidated
Attn: Bankruptcy Division                                           Disputed

                                                                Basis for the claim:
Harrisburg                            PA      17128-0946        Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
12/31/2022
                                                                     No
Last 4 digits of account                                             Yes
number       6 3 3           4
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F            Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1
           Case 5:23-bk-01954-MJC    Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                                     Desc
                                    Main Document               Page 16 of 45
Debtor        VRC, LLC                                                                 Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $920.16
                                                                   Check all that apply.
Furino Fuels                                                           Contingent
116 M C T A Drive                                                      Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Swiftwater                               PA        18355           Heating Oil

Date or dates debt was incurred         12/13/2022                 Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          5    1    0   3                Yes


     3.2    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $1.00
                                                                   Check all that apply.
Pacific RBLF REO, LLC                                                  Contingent
50 California Street, Suite 1500                                       Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
San Franciso                             CA        94111           Mortgage

Date or dates debt was incurred         5/3/2022                   Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes
Successful fraudulent transfer case would return real estate to Estate subject to $293,000 mortgage.


     3.3    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $196.30
                                                                   Check all that apply.
PPL Electric Utilities                                                 Contingent
827 Hausman Road                                                       Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Allentown                                PA        18104-9392      Utility

Date or dates debt was incurred         3/31/2023                  Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          7    1    3   6                Yes


     3.4    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $382.44
                                                                   Check all that apply.
PPL Electric Utilities                                                 Contingent
827 Hausman Road                                                       Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Allentown                                PA        18104-9392      Utility

Date or dates debt was incurred         3/31/2023                  Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          7    0    9   8                Yes




Official Form 206E/F            Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 2
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Debtor       VRC, LLC                                                              Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

   3.5     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $730.67
                                                               Check all that apply.
PPL Electric Utilities                                             Contingent
827 Hausman Road                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Allentown                              PA       18104-9392     Utility

Date or dates debt was incurred      3/31/2023                 Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       1     0   1   9               Yes


   3.6     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $198.28
                                                               Check all that apply.
PPL Electric Utilities                                             Contingent
827 Hausman Road                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Allentown                              PA       18104-9392     Utility

Date or dates debt was incurred      9/30/2022                 Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       4     0   2   0               Yes


   3.7     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $191.59
                                                               Check all that apply.
PPL Electric Utilities                                             Contingent
827 Hausman Road                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Allentown                              PA       18104-9392     Utility

Date or dates debt was incurred      9/7/2022                  Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       4     0   8   6               Yes


   3.8     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $27.60
                                                               Check all that apply.
PPL Electric Utilities                                             Contingent
827 Hausman Road                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Allentown                              PA       18104-9392     Utility

Date or dates debt was incurred      9/7/2022                  Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       4     0   3   7               Yes




Official Form 206E/F          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 3
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Debtor       VRC, LLC                                                              Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

   3.9     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $246.62
                                                               Check all that apply.
PPL Electric Utilities                                             Contingent
827 Hausman Road                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Allentown                              PA       18104-9392     Utility

Date or dates debt was incurred      3/31/2023                 Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       4     0   7   3               Yes


  3.10     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,227.70
                                                               Check all that apply.
PPL Electric Utilities                                             Contingent
827 Hausman Road                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Allentown                              PA       18104-9392     Utility

Date or dates debt was incurred      3/31/2023                 Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       7     1   1   2               Yes


  3.11     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $818.10
                                                               Check all that apply.
PPL Electric Utilities                                             Contingent
827 Hausman Road                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Allentown                              PA       18104-9392     Utility

Date or dates debt was incurred      3/31/2023                 Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       4     0   6   0               Yes


  3.12     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $169.19
                                                               Check all that apply.
PPL Electric Utilities                                             Contingent
827 Hausman Road                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Allentown                              PA       18104-9392     Utility

Date or dates debt was incurred      3/31/2023                 Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       8     1   0   6               Yes




Official Form 206E/F          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 4
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Debtor       VRC, LLC                                                              Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.13     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $477.00
                                                               Check all that apply.
PPL Electric Utilities                                             Contingent
827 Hausman Road                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Allentown                              PA       18104-9392     Utility

Date or dates debt was incurred      3/31/2023                 Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       4     0   5   1               Yes


  3.14     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $27.29
                                                               Check all that apply.
PPL Electric Utilities                                             Contingent
827 Hausman Road                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Allentown                              PA       18104-9392     Utility

Date or dates debt was incurred      3/31/2023                 Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       4     0   5   7               Yes




Official Form 206E/F          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 5
         Case 5:23-bk-01954-MJC    Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                           Desc
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Debtor        VRC, LLC                                                                     Case number (if known)

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Contract Callers Inc                                                  Line       3.8                                   8    5   8   7
         501 Greene Street                                                            Not listed. Explain:
         3rd Floor, Suite 302


         Augusta                       GA      30901


4.2      IC System, Inc.                                                       Line       3.7                                   1    3   0   6
         444 Highway 96 East                                                          Not listed. Explain:
         PO Box 64378


         St. Paul                      MN      55164-0378


4.3      IC System, Inc.                                                       Line       3.6                                   1    3   0   6
         444 Highway 96 East                                                          Not listed. Explain:
         PO Box 64378


         St. Paul                      MN      55164-0378




Official Form 206E/F          Schedule E/F: Creditors Who Have Unsecured Claims                                                           page 6
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Debtor      VRC, LLC                                                 Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                         Total of claim amounts

5a. Total claims from Part 1                                                     5a.                     $0.00

5b. Total claims from Part 2                                                     5b. +               $5,613.94


5c. Total of Parts 1 and 2                                                       5c.                 $5,613.94
    Lines 5a + 5b = 5c.




Official Form 206E/F          Schedule E/F: Creditors Who Have Unsecured Claims                                    page 7
         Case 5:23-bk-01954-MJC    Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                 Desc
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 Fill in this information to identify the case:
 Debtor name         VRC, LLC

 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number                                                  Chapter      11                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Zero payment lease to operating                 Pump House Inn & Spa, LLC
          or lease is for and the       entity with consideration to Debtor             2735 Route 390
          nature of the debtor's        being improvements to property and
          interest                      increase in property value
                                        Contract to be ASSUMED
          State the term remaining
                                                                                       Canadensis                          PA            18325
          List the contract
          number of any
          government contract

2.2       State what the contract       Listing Agreement for Sale of 6272              Smart Way America Realty
          or lease is for and the       Route 191, Cresco, PA 18326                     528 Seven Bridge Road, Suite 107
          nature of the debtor's        Contract to be ASSUMED
          interest

          State the term remaining
          List the contract
                                                                                       East Stroudsburg                    PA            18301
          number of any
          government contract

2.3       State what the contract       Listing Agreement for Sale of 2735              Smart Way America Realty
          or lease is for and the       Route 390, Canadensis, PA 18325                 528 Seven Bridge Road, Suite 107
          nature of the debtor's        Contract to be ASSUMED
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       East Stroudsburg                    PA            18301
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1

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 Fill in this information to identify the case:
 Debtor name         VRC, LLC

 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Svetlana Hanover                6272 Route 191                                         Kirkwood Equity Fund,                 D
                                       Number      Street                                     LLC                                   E/F
                                                                                                                                    G

                                       Cresco                         PA      18326
                                       City                           State   ZIP Code


2.2    VRC2735, LLC                    6272 Route 191                                         Kirkwood Equity Fund,                 D
                                       Number      Street                                     LLC                                   E/F
                                                                                                                                    G

                                       Cresco                         PA      18326
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1

        Case 5:23-bk-01954-MJC                       Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                         Desc
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 Fill in this information to identify the case:


 Debtor Name VRC, LLC

 United States Bankruptcy Court for the:                   MIDDLE DIST. OF PENNSYLVANIA

 Case number (if known):                                                                                                                                                            Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                 $2,145,000.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                   $423,000.00
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                 $2,568,000.00
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                    $1,163,351.15
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F.........................................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              +                $5,613.94
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..............................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................ $1,168,965.09




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1

        Case 5:23-bk-01954-MJC                                        Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                                                              Desc
                                                                     Main Document    Page 25 of 45
 Fill in this information to identify the case and this filing:
 Debtor Name         VRC, LLC

 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 08/30/2023                       X /s/ Svetlana Hanover
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Svetlana Hanover
                                                              Printed name
                                                              Owner/Member
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors

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 Fill in this information to identify the case:
 Debtor name        VRC, LLC

 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number
                                                                                                              Check if this is an
 (if known)
                                                                                                              amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,          Sources of revenue                            Gross revenue
which may be a calendar year                                                  Check all that apply.                         (before deductions
                                                                                                                            and exclusions


From the beginning of the                                                         Operating a business
                                From    01/01/2023      to   Filing date
fiscal year to filing date:                                                       Other Rent                                          $5,500.00
                                       MM / DD / YYYY

                                                                                  Operating a business
For prior year:                 From    01/01/2022      to     12/31/2022
                                       MM / DD / YYYY        MM / DD / YYYY       Other Rent                                         $17,000.00

                                                                                  Operating a business
For the year before that:       From    01/01/2021      to     12/31/2021
                                       MM / DD / YYYY        MM / DD / YYYY       Other Rent                                         $23,400.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

                                                                               Description of sources of revenue              Gross revenue
                                                                                                                              from each source
                                                                                                                              (before deductions
                                                                                                                              and exclusions
From the beginning of the
                                From    01/01/2023      to   Filing date                                                                  $0.00
fiscal year to filing date:
                                       MM / DD / YYYY

For prior year:                 From    01/01/2022      to     12/31/2022      Sale of real estate                                  $423,913.25
                                       MM / DD / YYYY        MM / DD / YYYY

For the year before that:       From    01/01/2021      to     12/31/2021      Sale of real estate                                  $271,419.42
                                       MM / DD / YYYY        MM / DD / YYYY




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
       Case 5:23-bk-01954-MJC                     Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                        Desc
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Debtor         VRC, LLC                                                                        Case number (if known)
               Name


 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
     adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

      Creditor's name and address                                  Description of the property                      Date              Value of property
5.1. Pacific RBLF REO, LLC                                         296 Lower Seese Hill Road                        1/24/2023            $678,000.00
      Creditor's name                                              Canadensis, PA 18326
      50 California Street, Suite 1500
      Street


      San Francisco                     CA         94111
      City                              State      ZIP Code

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None

      Case title                                Nature of case                          Court or agency's name and address               Status of case
7.1. Oakmont Commercial v VRC                   Confession of Judgment                  Monroe County Common Pleas Court
                                                                                                                                              Pending
      et al                                     (concluded) and Foreclosure             Name
                                                Sale (Schedule for August 31,           610 Monroe Street                                     On appeal
                                                2023)                                   Street
                                                                                                                                              Concluded

      Case number
      005890-CV-2022                                                                    Stroudsburg               PA       18360
                                                                                        City                      State    ZIP Code




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
         Case 5:23-bk-01954-MJC                        Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                             Desc
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Debtor          VRC, LLC                                                                     Case number (if known)
                Name

      Case title                             Nature of case                           Court or agency's name and address              Status of case
7.2. Oakmont Commercial v VRC                Foreclosure                              Monroe County Common Pleas Court
                                                                                                                                          Pending
      et al                                                                           Name
                                                                                      610 Monroe Street                                   On appeal
                                                                                      Street
                                                                                                                                          Concluded

      Case number
      007624-CV-2022                                                                  Stroudsburg               PA      18360
                                                                                      City                      State   ZIP Code

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None

 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

          None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?            If not money, describe any property              Dates               Total amount
                                                               transferred                                                          or value
 11.1. J. Zac Christman, Esquire                               $ 4,291                                          $2,291 4/26/23          $4,000.00
                                                                                                                $2,000 8/30/23
         Address

         556 Main Street, Suite 12
         Street


         Stroudsburg                 PA       18360
         City                        State    ZIP Code

         Email or website address



         Who made the payment, if not debtor?
         Pump House Inn & Spa, Inc.




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
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Debtor          VRC, LLC                                                                   Case number (if known)
                Name

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

          None

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.1. Madison Taylor Stephenson                               104 Scarlett Oak Drive                           10/13/2021            $460,000.00
                                                               Effort, PA 18330
         Address                                               for $460,000
         104 Scarlett Oak Drive
         Street


         Effort                       PA      18330
         City                         State   ZIP Code

         Relationship to debtor
         None

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.2. Soheir Touma                                            261 Cranberry Road                               12/22/2021            $500,000.00
                                                               East Stroudsburg, PA 18301
         Address                                               for $500,000
         261 Cranberry Road
         Street


         East Stroudsburg             PA      18301
         City                         State   ZIP Code

         Relationship to debtor
         None

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.3. Green Paradise Acres, LLC                               523 Kern Road                                    3/10/2022             $700,000.00
                                                               Stroudsburg, PA 18360
         Address                                               for $700,000
         322 Clubouse Drive
         Street


         East Stroudsburg             PA      18302
         City                         State   ZIP Code

         Relationship to debtor
         None




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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Debtor          VRC, LLC                                                                    Case number (if known)
                Name

         Who received transfer?                                     Description of property transferred       Date transfer   Total amount
                                                                    or payments received or debts paid        was made        or value
                                                                    in exchange

 13.4. VRCP, LLC                                                    647 Metzgar Road                          2/23/2022            $471,000.00
                                                                    East Stroudsburg, PA
         Address                                                    for $471,000
         4122 Crest View Drive
         Street


         Stroudsburg                   PA       18360
         City                          State    ZIP Code

         Relationship to debtor
         Owned by Wife of Prior Member of Debtor

 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply

         Address                                                                                    Dates of occupancy

 14.1. 515 Main Street                                                                              From     6/1/2019         To    11/10/2020
         Street


         Stroudsburg                                           PA          18360
         City                                                  State       ZIP Code


 Part 8:          Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
          Yes. Fill in the information below.

 Part 9:          Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

          No.
          Yes. State the nature of the information collected and retained

                  Does the debtor have a privacy policy about that information?
                     No.
                     Yes.




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 5
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Debtor       VRC, LLC                                                                       Case number (if known)
             Name

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:

 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

         None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

         None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 6
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Debtor       VRC, LLC                                                                       Case number (if known)
             Name


 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None

26. Books, records, and financial statements

     26a.   List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                 None

                Name and address                                                                     Dates of service

      26a.1. Svetlana Hanover                                                                        From      1/1/2019        To
                Name
                6272 Route 191
                Street


                Cresco                                         PA          18326
                City                                           State       ZIP Code




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
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Debtor        VRC, LLC                                                                      Case number (if known)
              Name

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                None

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                None

               Name and address                                                                  If any books of account and records are
                                                                                                 unavailable, explain why
         26c.1. Svetlana Hanover
               Name
               6272 Route 191
               Street


               Cresco                                         PA          18326
               City                                           State       ZIP Code

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

                None

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

          No.
          Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                      Position and nature of any interest         % of interest, if any

Svetlana Hanover                         6272 Route 191                               Member / Owner                                      100%
                                         Cresco, PA 18326
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          No
          Yes. Identify below.

Name                                     Address                                      Position and nature of        Period during which position
                                                                                      any interest                  or interest was held
Jean-Claude Jasmin                       4122 Crest View Drive                        Member / Co-signor            From 3/31/2022 To 1/31/2023
                                         Stroudsburg, PA 18360




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 8
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Debtor        VRC, LLC                                                                    Case number (if known)
              Name

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

         No
         Yes. Identify below.

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.

 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 08/30/2023
            MM / DD / YYYY



X /s/ Svetlana Hanover                                                             Printed name Svetlana Hanover
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Owner/Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 9
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                          MIDDLE DISTRICT OF PENNSYLVANIA
                                                               WILKES-BARRE DIVISION
In re VRC, LLC                                                                                                                      Case No.

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                        $0.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $2,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                              ($2,000.00)

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;




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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Fee agreement is for $300 hourly rate, subject to fee application.




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   08/30/2023                         /s/ J. Zac Christman, Esquire
                      Date                            J. Zac Christman, Esquire                  Bar No. 80009
                                                      J. Zac Christman, Esquire
                                                      556 Main Street, Suite 12
                                                      Stroudsburg, PA 18360
                                                      Phone: (570) 234-3960 / Fax: (570) 234-3975




   /s/ Svetlana Hanover
   Svetlana Hanover
   Owner/Member




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                                             Main Document    Page 37 of 45
 Fill in this information to identify the case:
 Debtor name        VRC, LLC

 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and          Name, telephone         Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email       (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of              debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor                professional          unliquidated,   secured, fill in total claim amount and
                               contact                 services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   PPL Electric Utilities                             Utility                                                                     $1,227.70
    827 Hausman Road
    Allentown, PA 18104-
    9392



2   Furino Fuels                                       Heating Oil                                                                   $920.16
    116 M C T A Drive
    Swiftwater, PA 18355




3   PPL Electric Utilities                             Utility                                                                       $818.10
    827 Hausman Road
    Allentown, PA 18104-
    9392



4   PPL Electric Utilities                             Utility                                                                       $730.67
    827 Hausman Road
    Allentown, PA 18104-
    9392



5   PPL Electric Utilities                             Utility                                                                       $477.00
    827 Hausman Road
    Allentown, PA 18104-
    9392




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 1
       Case 5:23-bk-01954-MJC                   Doc 1 Filed 08/30/23 Entered 08/30/23 19:53:29                                       Desc
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Debtor       VRC, LLC                                                            Case number (if known)
             Name


 Name of creditor and          Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor              professional          unliquidated,   secured, fill in total claim amount and
                               contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                     government                            calculate unsecured claim.
                                                     contracts)
                                                                                           Total           Deduction       Unsecured
                                                                                           claim, if       for value       claim
                                                                                           partially       of
                                                                                           secured         collateral
                                                                                                           or setoff
6   PPL Electric Utilities                           Utility                                                                       $382.44
    827 Hausman Road
    Allentown, PA 18104-
    9392



7   PPL Electric Utilities                           Utility                                                                       $246.62
    827 Hausman Road
    Allentown, PA 18104-
    9392



8   PPL Electric Utilities                           Utility                                                                       $198.28
    827 Hausman Road
    Allentown, PA 18104-
    9392



9   PPL Electric Utilities                           Utility                                                                       $196.30
    827 Hausman Road
    Allentown, PA 18104-
    9392



10 PPL Electric Utilities                            Utility                                                                       $191.59
   827 Hausman Road
   Allentown, PA 18104-
   9392



11 PPL Electric Utilities                            Utility                                                                       $169.19
   827 Hausman Road
   Allentown, PA 18104-
   9392



12 PPL Electric Utilities                            Utility                                                                        $27.60
   827 Hausman Road
   Allentown, PA 18104-
   9392



13 PPL Electric Utilities                            Utility                                                                        $27.29
   827 Hausman Road
   Allentown, PA 18104-
   9392




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
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Debtor       VRC, LLC                                                            Case number (if known)
             Name


 Name of creditor and            Name, telephone     Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing                number, and email   (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip          address of          debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                            creditor            professional          unliquidated,   secured, fill in total claim amount and
                                 contact             services, and         or disputed     deduction for value of collateral or setoff to
                                                     government                            calculate unsecured claim.
                                                     contracts)
                                                                                           Total           Deduction       Unsecured
                                                                                           claim, if       for value       claim
                                                                                           partially       of
                                                                                           secured         collateral
                                                                                                           or setoff
14 Pacific RBLF REO, LLC                             Mortgage                                                                        $1.00
   50 California Street, Suite
   1500
   San Franciso, CA 94111



15 Pennsylvania Dep't of                             Taxes                                                                           $0.00
   Revenue
   PO Box 280946
   Attn: Bankruptcy Division
   Harrisburg PA 17128-
   0946
16 Internal Revenue Service                          1040 Taxes                                                                      $0.00
   Centralized Insolvency
   Operation
   PO Box 7346
   Philadelphia PA 19101-
   7346




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
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                                      UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF PENNSYLVANIA
                                           WILKES-BARRE DIVISION
  IN RE:    VRC, LLC                                                               CASE NO

                                                                                  CHAPTER     11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 8/30/2023                                          Signature   /s/ Svetlana Hanover
                                                                    Svetlana Hanover
                                                                    Owner/Member




Date                                                    Signature




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                         Contract Callers Inc
                         501 Greene Street
                         3rd Floor, Suite 302
                         Augusta, GA 30901


                         Furino Fuels
                         116 M C T A Drive
                         Swiftwater, PA 18355



                         IC System, Inc.
                         444 Highway 96 East
                         PO Box 64378
                         St. Paul, MN 55164-0378


                         Internal Revenue Service
                         Centralized Insolvency Operation
                         PO Box 7346
                         Philadelphia PA 19101-7346


                         Kirkwood Equity Fund, LLC
                         7237 Periwinkle Drive
                         Macungie, PA 18062



                         Monroe County Tax Claim Bureau
                         One Quaker Plaza, Room 104
                         Stroudsburg, PA 18360



                         Obermayer Rebman Maxell & Hippel, LLP
                         Nicholas Poduslenko, Esquire
                         Centre Square West
                         1500 Market Street, Suite 3400
                         Philadelphia, PA 19102

                         Pacific RBLF REO, LLC
                         50 California Street, Suite 1500
                         San Franciso, CA 94111



                         Pennsylvania Dep't of Revenue
                         PO Box 280946
                         Attn: Bankruptcy Division
                         Harrisburg PA 17128-0946




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                         PPL Electric Utilities
                         827 Hausman Road
                         Allentown, PA 18104-9392



                         Pump House Inn & Spa, LLC
                         2735 Route 390
                         Canadensis, PA 18325



                         Smart Way America Realty
                         528 Seven Bridge Road, Suite 107
                         East Stroudsburg, PA 18301



                         Svetlana Hanover
                         6272 Route 191
                         Cresco, PA 18326



                         The Dime Bank
                         820 Church Street
                         Honesdale, PA 18431



                         VRC2735, LLC
                         6272 Route 191
                         Cresco, PA 18326




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    IN RE:                                                                         CHAPTER       11
    VRC, LLC


    DEBTOR(S)                                                                      CASE NO



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered

 Svetlana Hanover                                                  Sole Member of LLC
 6272 Route 191
 Cresco, PA 18326

                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                    Owner/Member                           of the                Limited Liability Company
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       8/30/2023
Date:__________________________________                            /s/ Svetlana Hanover
                                                        Signature:________________________________________________________
                                                                   Svetlana Hanover
                                                                   Owner/Member




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                                       MIDDLE DISTRICT OF PENNSYLVANIA
                                            WILKES-BARRE DIVISION
 In re: VRC, LLC                                                         CASE NO

                                                                         CHAPTER    11


                                      BUSINESS INCOME AND EXPENSES



FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

   1. Gross Income for 12 Months Prior to Filing:                                  $1,000.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
   2. Gross Monthly Income:
                                                                                                           $1,000.00
PART C - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
   3. Net Employee Payroll (Other Than Debtor):                                        $0.00
   4. Payroll Taxes:                                                                   $0.00
   5. Unemployment Taxes:                                                              $0.00
   6. Worker's Compensation:                                                           $0.00
   7. Other Taxes:                                                                     $0.00
   8. Inventory Purchases (including raw materials):                                   $0.00
   9. Purchase of Feed/Fertilizer/Seed/Spray:                                          $0.00
   10. Rent (other than debtor's principal residence):                                 $0.00
   11. Utilities:                                                                      $0.00
   12. Office Expenses and Supplies:                                                   $0.00
   13. Repairs and Maintenance:                                                    $1,000.00
   14. Vehicle Expenses:                                                               $0.00
   15. Travel and Entertainment:                                                       $0.00
   16. Equipment Rental and Leases:                                                    $0.00
   17. Legal/Accounting/Other Professional Fees:                                       $0.00
   18. Insurance:                                                                      $0.00
   19. Employee Benefits (e.g., pension, medical, etc.):                               $0.00
   20. Payments to be Made Directly by Debtor to Secured Creditors for
        Pre-Petition Business Debts (Specify):                                           None
   21. Other (Specify):                                                                  None
   22. Total Monthly Expenses (Add items 3 - 21)                                                           $1,000.00

PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
   23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2):                                              $0.00




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